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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )
                                          )          8:02CR164
                    Plaintiff,            )
                                          )
       vs.                                )            ORDER
                                          )
YAMIL RIVERA-KADER,                       )
                                          )
                    Defendant.            )



       Defendant’s Motion for Modification of Conditions of Release (Filing No. 451) and
Motion to Compel (Filing No. 453) are scheduled for hearing before the undersigned
magistrate judge at 10:00 a.m. on December 19, 2005, in Courtroom No. 7, Second Floor,
Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       This being a criminal case, defendant must be present unless otherwise ordered by
the court.
       DATED this 12th day of December, 2005.
                                               BY THE COURT:


                                               s/ Thomas D. Thalken
                                               United States Magistrate Judge
